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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 9:20-cv-82102-DMM

   HYUNDAI MOTOR AMERICA
   CORPORATION,

         Plaintiff,

   v.

   NORTH AMERICAN AUTOMOTIVE
   SERVICES, INC., an Illinois corporation,
   EFN WEST PALM MOTOR SALES, LLC,
   an Illinois limited liability corporation; GENE
   KHAYTIN, an individual; ERNESTO
   REVUELTA, an individual; EDWARD W.
   NAPLETON, an individual; GEOVANNY
   PELAYO, an individual;
   JORGE RUIZ, an individual; and, ROBB
   MINIER, an individual,

        Defendants.
   ________________________________________/

                         SECOND AMENDED COMPLAINT

         Plaintiff, HYUNDAI MOTOR AMERICA CORPORATION, by and through

   its undersigned counsel, pursuant to the Court’s June 11, 2021, Order granting

   Plaintiff leave to amend and file this Second Amended Complaint (DE 142), files

   this Second Amended Complaint against Defendants NORTH AMERICAN

   AUTOMOTIVE SERVICES, INC., an Illinois corporation; EFN WEST PALM

   MOTOR SALES, LLC, an Illinois limited liability corporation; GENE KHAYTIN,
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   an individual; ERNESTO REVUELTA, an individual; EDWARD W. NAPLETON,

   an individual; GEOVANNY PELAYO, an individual; JORGE RUIZ, an individual;

   and, ROBB MINIER, an individual and states as follows:

                          JURISDICTION, VENUE, PARTIES

         1.     This is an action for damages in excess of seventy-five thousand dollars

   ($75,000.00).

         2.     Plaintiff,    HYUNDAI       MOTOR        AMERICA        CORPORATION

   (“HMA”), is incorporated under the laws of the State of California, has its principal

   place of business in California, and is authorized to do business in the State of

   Florida. HMA is a citizen of California.

         3.     Defendant NORTH AMERICAN AUTOMOTIVE SERVICES, INC.

   (“Napleton”) is an Illinois for-profit corporation whose principal place of business

   is in Illinois. Napleton is a citizen of Illinois, but is authorized to conduct business

   in the State of Florida.

         4.     Defendant EFN WEST PALM MOTOR SALES, LLC (the

   “Dealership”) is an Illinois limited liability corporation that operates an authorized

   Hyundai dealership under the fictitious name Napleton’s Hyundai. HMA identifies

   the Dealership as FL 121. Although the Dealership is located in West Palm Beach,

   Florida, none of the Members of the Dealership are citizens of the state of Florida.

   The Dealership is authorized to conduct business in the State of Florida.


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          5.     Defendant, GENE KHAYTIN, is sui juris, a citizen of the State of

   North Carolina, and a former General Manager of the Dealership.

          6.     Defendant, ERNESTO “ERNIE” REVUELTA, is sui juris, a citizen of

   the State of Florida, and is the Service Manager of the Dealership.

          7.     Defendant, EDWARD W. NAPLETON (“EDDIE NAPLETON”), is

   sui juris, a citizen of the State of Illinois, is a Director of Napleton, and is responsible

   for oversight of the Dealership.

          8.     Defendant, GEOVANNY PELAYO, is sui juris, a citizen of the State

   of Florida, and is a Service Advisor at the Dealership.

          9.     Defendant, JORGE RUIZ is sui juris, a citizen of the State of Florida,

   and is a Service Technician at the Dealership.

          10.    Defendant, ROBB MINIER, is sui juris, a citizen of the State of Florida,

   and was a Service Manager at a Hyundai dealership owned by Napleton before he

   was promoted to his current role as the fixed operations director for the collection of

   Napleton dealerships, including a Hyundai dealership, at Napleton's North Lake

   campus.

          11.    This Court has original jurisdiction over this action pursuant to 18

   U.S.C. § 1331 because the action arises under federal law.




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         12.    This Court also has original jurisdiction over this action pursuant to 18

   U.S.C. § 1332 because the amount in controversy exceeds $75,000 and the action is

   between citizens of different States.

         13.    Pursuant to 28 U.S.C. § 1391 and Sections 47.011 and 48.193, Fla.

   Stat., the non-resident Defendants submitted themselves to the jurisdiction of this

   Court by committing tortious acts within West Palm Beach, Palm Beach County,

   Florida. All of the Defendants have had substantial and continuous contact with the

   State of Florida and have conducted on-going business within the State of Florida at

   all relevant times hereto.

                                FACTUAL BACKGROUND

            HMA, Hyundai Sonatas and Santa Fes, and Their Warranties

         14.    HMA is the distributor of Hyundai motor vehicles in the United States,

   including Hyundai Sonatas and Santa Fes. HMA distributes Hyundai motor vehicles

   through a network of independent dealers, one of which is the Dealership.

         15.    During the relevant time period, new Hyundai Sonata and Santa Fe

   vehicles sold in America were covered by several warranties, including the

   “Hyundai New Vehicle Limited Warranty” for 5 years/60,000 miles and the

   “Hyundai Powertrain Warranty Limited Warranty” for 10 years/100,000 miles for

   the original purchaser of the vehicle. See e.g. Exhibit A (“2012 Owner’s Handbook

   & Warranty Information”).


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         16.      The Hyundai New Vehicle Limited Warranty (“Warranty”) provides

   for the “[r]epair or replacement of any component originally manufactured or

   installed by [Hyundai] that is found to be defective in material or workmanship under

   normal use and maintenance” subject to the other exclusions. See Exhibit A, p. 18

   (“WHAT IS COVERED.”)

         17.      The Warranty does not cover damage from neglect or abuse. The

   Warranty states

         WHAT IS NOT COVERED…

                Damage or failure resulting from:

                  - Negligence of proper maintenance as required in the Owner’s
                    Manual.
                  - Misuse, abuse, accident, theft, water/flooding or fire.
                  - Use of improper or insufficient fuel, fluids or lubricants…
                  - Modifications, alterations, tampering or improper repair.

   See Exhibit A, pp. 19-20 (“WHAT IS NOT COVERED.”)

         18.      The Hyundai Powertrain Limited Warranty (“Powertrain Warranty”)

   provides for the “[r]epair or replacement of powertrain components listed above,

   originally manufactured or installed by [Hyundai] that are found to be defective in

   material or factory workmanship under normal use and maintenance, except any

   item specifically referred to in the section ‘What is Not Covered.’” See Exhibit A,

   p. 21 (“WHAT IS COVERED…”).




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         19.    The    Powertrain    Warranty    also   states   that   the   “‘Owner’s

   Responsibilities’ and ‘Obtaining Warranty service’ are the same as specified under

   the Hyundai New Vehicle Limited Warranty.” See Exhibit A, p. 21 (“WHAT IS

   COVERED…”).

         20.    Like the Warranty, the Powertrain Warranty does not cover damage

   from neglect or abuse. See Exhibit A, p. 21 (“WHAT IS NOT COVERED…”)

            Recall Campaign for Hyundai Sonatas and Santa Fe Vehicles

         21.    HMA is involved in safety recalls and service campaigns involving

   Hyundai vehicles in the United States.

         22.    Beginning in 2015, HMA recalled certain model year 2011-2012

   Hyundai Sonatas to address a manufacturing issue that could lead to bearing wear

   and engine failure for 2011-2012 Hyundai Sonatas with the Theta II 2.0 liter or 2.4

   liter Gasoline Direction Injection engine. See Exhibit B (“Important Information

   About Engine Care for Your Sonata.”); see also Technical Service Bulletin (Recall

   Campaign 132) attached as Exhibit C.

         23.    In June of 2017, HMA expanded the recall to include certain model

   year 2013-2014 Hyundai Sonatas and Santa Fe Sport vehicles with the Theta II 2.0

   liter or 2.4 liter Gasoline Direction Injection engine. See Technical Service Bulletin

   (Recall Campaign 162) attached as Exhibit D.




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         24.    In 2018 and 2019, HMA updated Recall Campaigns 132 and 162. See

   Technical Service Bulletin No. 18-01-007-1 attached as Exhibit E; Technical

   Service Bulletin No. 19-01-011H attached as Exhibit F; Technical Service Bulletin

   No. 19-01-002H-4 (adding certain modal year 2019 Sonata, Santa Fe, Tucson and

   Veloster N vehicles) attached as Exhibit G; and Technical Service Bulletin No. 19-

   01-006H-4 attached as Exhibit H.

         25.    Like all consumer recall programs, the HMA recalls were issued to

   protect consumer safety and to reimburse Hyundai customers for legitimate damage

   to their vehicles because of the engine issues. The recalls were publicized to Hyundai

   customers through recall campaigns (“Recall Campaign”).

         26.    Under the terms of the Recall Campaign, HMA agreed to conduct

   safety inspections on affected vehicles that were presented by then-current owners

   and lessees and, if necessary, to replace the engine assembly in model year 2011-

   2014 and 2019 Hyundai Sonata and Santa Fe vehicles, which were found to be

   damaged, as described in the Recall Campaign.

         27.    In an effort to assist consumers facing legitimate problems, HMA’s

   Recall Campaign also extended the Powertrain Warranty beyond the initial 10

   years/100,000 miles and extended warranty protection beyond original owners.

   HMA specifically advised consumers in the Recall Campaign notice that:




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                Hyundai has extended the Powertrain Warranty for the
                engine short block assembly to 10 years/120,000 miles
                from the date of first use for both original and subsequent
                owners of the vehicle. The extension of the Powertrain
                Warranty for the short block assembly covers cost of an
                inspection of the engine short block and all repair costs.

      See Exhibit B.

         28.    The Recall Campaign notice also explained that the lack of proper

   vehicle maintenance may contribute to engine wear and damage and emphasized the

   importance of proper vehicle maintenance. See Exhibit B.

         29.    Although the Recall Campaign emphasized the importance of

   documentation, to allow a wider group of legitimately injured consumers to take

   advantage of the recall, HMA relaxed its typical requirement that owners present

   copies of maintenance records in order to participate in the recall.

         30.    HMA’s goodwill gesture in extending warranty coverage beyond

   original vehicle owners, however, would soon be exploited by Defendants for

   improper economic gain.

                    Napleton and Its Relationship to the Dealership

         31.    Napleton does not own the Dealership and the Dealership is not a

   subsidiary of any parent companies.




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         32.     Napleton and the Dealership do, however, have a common ownership

   structure. The majority of the Napleton stock is held by two Trusts. The same two

   Trusts hold the majority membership interest in the Dealership.

         33.     The Settlor of the Trusts is Edward F. Napleton, the dealer principal for

   the Dealership. Edward F. Napleton is a beneficiary of the Trusts that hold the

   majority of the Napleton stock and the majority membership interest in the

   Dealership.

         34.     Edward F. Napleton has overall management oversight for both

   Napleton and the Dealership.

         35.     EDDIE NAPLETON is the son of Edward F. Napleton and is a

   beneficiary of the two Trusts that holds the majority of the Napleton stock and the

   majority membership interest in the Dealership.

         36.     Napleton provides consulting services to the Dealership, and forty-

   seven other dealerships whose majority ownership interest is held by Edward F.

   Napleton or his Trusts. The purpose of the consulting services provided by Napleton

   is to maximize the profits realized by the Dealership, and the forty-seven other

   dealerships whose majority ownership interest is held by Edward F. Napleton or his

   Trusts. A portion of the sales price for each car sold, $125 per car, is paid by the

   Dealership to Napleton as compensation for the consulting services. The Dealership




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   also pays a markup of 1.27 percent on the floor plan interest to Napleton. No other

   amounts are paid to Napleton for the consulting services provided.

         37.   Napleton began providing consulting services to the Dealership in 2005

   after Edward F. Napleton purchased the Dealership. Napleton has continuously

   provided consulting services to the Dealership from 2005 to the present date.

         38.   Napleton’s consulting services include maximizing the profits and

   distributions at each of the 48 dealerships owned by Edward F. Napleton and/or his

   Trusts. To this end, the General Managers at each of the 48 dealerships report to

   Napleton.

         39.   As part of the consulting services provided by Napleton, the Dealership

   electronically transmits its claims for any warranty repairs it performs under the

   Recall Campaign to Napleton. Napleton, in turn, submits the warranty claims to

   HMA through an online internet “portal.” HMA then pays the Dealership directly

   for the warranty repair work performed via an electronic wire transfer to the

   Dealership’s bank account. This has been the practice and procedure since the

   inception of the Recall Campaign.

                        The Dealership’s Fraudulent Scheme

         40.   The Dealership’s Service Technicians are paid a flat rate based on the

   hours produced.    Accordingly, the more hours the service technicians spend

   performing work, the more money they can earn.


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             41.   Upon information and belief, multiple Service Technicians were

   involved in the fraudulent scheme. One example of a Service Technician involved

   in the scheme is RUIZ who worked at the Dealership.

             42.   The Service Advisors who work under REVUELTA in the Service

   Department are paid a salary and receive a commission based on a percentage of the

   gross of the repairs paid for by customers, the repairs paid for under a warranty or

   recall program, and the repair work done for the Dealership.

             43.   Upon information and belief, multiple Service Advisors were involved

   in the fraudulent scheme. One example of a Service Advisor involved in the scheme

   is PELAYO.

             44.   As the Service Manager of the Dealership, REVUELTA is paid a salary

   and receives a monthly commission based on a percentage of the gross profit for his

   department’s service and parts sales.

             45.   As the General Manager of the Dealership, KHAYTIN was paid a

   salary and received a monthly commission based on the entire Dealership’s net

   profit.

             46.   Based on the manner in which the Dealership paid the Service

   Department employees, the more warranty repair work that a Service Technician

   performs increases not only the Service Technician’s pay, but also the Service




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   Advisor’s commission, the Service Manager’s commission and the General

   Manager’s commission.

         47.    Service Advisors at the Dealership direct work to the Service

   Technicians and often direct work to specific Service Technicians that they trust.

         48.    Service Advisors at the Dealership identify vehicles that might qualify

   for engine repairs under the Recall Campaign based on their make and model.

         49.    Once a vehicle was identified as potentially eligible under the Recall

   Campaign, the Service Advisor assigns a specific Service Technician to perform the

   necessary tests to obtain prior authorization to perform an engine replacement under

   the Recall Campaign.

         50.    In some cases, the Service Technicians do not perform the tests

   prescribed by HMA, but instead drain the oil out of the vehicle as though they were

   performing an oil change. After draining the oil, the Service Technician drives the

   car out of the service area so that the Service Technician can floor the accelerator

   while the vehicle is in park. This causes the engine to seize up. After the engine

   seizes, the Service Technician pours a small amount of oil into the engine giving the

   impression that the engine seized while it was fully lubricated.

         51.    In other cases, the Service Technicians provide false documentation to

   substantiate a request for pre-authorization to perform an engine replacement under

   the Recall Campaign. As an example, the Dealership keeps oil pans taken from cars


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   subject to the Recall Campaign that contain metal shavings in the Service

   Department workshop. If the Service Technician is unable to locate metal shavings

   in an oil pan removed from a car, which would indicate that an engine repair was not

   necessary, the Service Technician will photograph the oil pan taken off another car

   that contains metal shavings to submit with an authorization request to perform an

   engine replacement on a vehicle that shows no signs of engine damage.

           52.   Service Technicians also alter the condition of engines to ensure the

   vehicles qualify for warranty coverage under the Recall Campaign.

           53.   The Dealership, through KHAYTIN, also began buying used Hyundai

   Sonata and Santa Fe vehicles from auction houses, including Manheim’s

   Remarketing, Inc. d/b/a Manheim Palm Beach, for the model years that qualified for

   the Recall Campaign as far back as 2016.

           54.   Manheim Palm Beach operates a “Hyundai Lane” in which fleet and

   other Hyundai used vehicles are sold at auction.

           55.   KHAYTIN purchased numerous model year 2011-2014 Hyundai

   Sonatas from the “Hyundai Lane” that had functioning engines when he purchased

   them.

           56.   Once KHAYTIN delivered the vehicles to the Dealership, the Service

   Technicians, at the direction of REVUELTA, would intentionally “blow” the

   engines by draining the oil and running the engine until it failed, as described above.


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         57.   One such vehicle is a 2015 Sonata, VIN 5NPE24AF4FH196398, that

   the Dealership purchased from Manheim in 2019.         It had low mileage when

   purchased (30,244) and was in excellent condition, rated by Manheim as 4.5 on a

   scale of up to 5.0. Thirteen days after purchase from Manheim this vehicle was

   submitted to HMA for engine replacement. The vehicle collected a total of two

   additional miles after the purchase before the Dealership submitted a pre-

   authorization request to replace the engine because the engine seized. The warranty

   records indicate that the car shut off during a test drive. PELAYO was the Service

   Advisor who prepared the repair order and RUIZ was the Service Technician who

   performed the work.

         58.   Another example is a 2014 Sonata, VIN 5NPEC4AB4EH853614, that

   was purchased by the Dealership from Manheim in 2017. It had low mileage when

   purchased (28,974) and was in excellent condition, rated by Manheim as 4.4 on a

   scale of up to 5.0. Two days after purchase from Manheim a pre-authorization

   request for this vehicle was submitted to HMA for an engine replacement. The

   vehicle collected NO additional miles and now had a seized engine. The warranty

   records indicate that the car shut off during a test drive. PELAYO was the Service

   Advisor who prepared the repair order and RUIZ was the Service Technician who

   performed the work.




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         59.     In order to obtain authorization to perform repairs under the Recall

   Campaign for these vehicles, the Dealership would misrepresent the condition of the

   vehicles; presented vehicles with excessive damage (i.e., stated they were not

   roadworthy or were in inoperable condition); misrepresented the actual value and/or

   actual purchaser of these vehicles; and presented vehicles with supposed failed

   engines when the prior owners never had any issue with the operation or function of

   the engine.

         60.     The Dealership ignored the warranty disclaimers and limitations and

   took advantage of a consumer program designed to assist vehicles owners with

   legitimate engine performance issues. All of this was done as part of a pattern and

   practice to deceive and defraud HMA and to profit from HMA’s goal of helping real

   consumers with legitimate engine problems covered by the Recall Campaign.

         61.     Many of the vehicles presented by Defendants to HMA as having failed

   engines never had an engine problem before the Dealership gained ownership or

   control of the vehicles.

                 Napleton Discovers Fraudulent Scheme at the Dealership

         62.     In mid to late 2017, Napleton discovered discrepancies related to the

   parts inventory at the Dealership. Napleton identified an unusually high number of

   vehicle engines in the Dealership’s inventory that should have been used for

   warranty replacements.


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         63.    Through an investigation, Napleton became aware that the Dealership

   submitted warranty claims to HMA indicating repairs were completed, knowing

   that the repairs had not, in fact, been performed.

         64.    Specifically, the Dealership was submitting warranty claims for engine

   replacements under the Recall Campaign that were not performed. This resulted in

   HMA sending the Dealership engines which were put into the Dealership’s

   inventory, not into customer’s vehicles.

         65.    Napleton sent representatives from its Chicago headquarters to

   investigate the discrepancies by interviewing the employees at the Dealership,

   including KHAYTIN and REVUELTA.

         66.    After   confirming     that   KHAYTIN     and    REVUELTA        were

   misrepresenting that repairs were completed in an effort to obtain commission

   payments they were not entitled to receive, Napleton reprimanded them and ordered

   them to cease and desist employing the fraudulent scheme.

         67.    However, Napleton concealed this fraudulent scheme from HMA. As

   part of concealing this from HMA, Napleton reprimanded KHAYTIN and

   REVUELTA not for submitting false warranty claims, but instead for booking the

   repair for accounting purposes even though the repair order was still open.

   Napleton reframed the fraud as KHAYTIN and REVUELTA engaging in a scheme

   to pre-book revenue, which inflated the gross monthly sales, resulting in


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   KHAYTIN, REVUELTA, and PELAYO receiving commissions for engine

   replacements that had not yet been earned because the repairs were not completed.

         68.    Edward F. Napleton, Bruce Etheridge, Jill Brotherton, and other

   executives at Napleton, including EDDIE NAPLETON, became aware of the

   fraudulent scheme as a result of Napleton’s investigation.

         69.    In addition to its failure to notify HMA, Napleton has participated in a

   cover-up of this scheme, as evidenced by written communications between its

   executives stating that the sooner "we take over processing and officially 'discover'

   what was going on with those claims the better."

         70.    After the scheme was discovered, EDDIE NAPLETON, the Napleton

   executive who oversaw the operations of the Dealership on behalf of Napleton,

   advised KHAYTIN that he should be kept informed of any such schemes so that he

   could protect KHAYTIN from disciplinary action and conceal the scheme.

         71.    As an example of the manner in which EDDIE NAPLETON assisted

   with concealing the fraudulent scheme, the Dealership was required to comply with

   Napleton’s policy to report inventory of used vehicles at the Dealership and to write-

   off used vehicles that were at the Dealership for longer than 60 days. The Dealership

   had an unusually high number of used vehicles in its inventory as it was purchasing

   used vehicles that met the make and model years parameters of the Recall Campaign.

   EDDIE NAPLETON repeatedly approved requests submitted by KHAYTIN for an


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   exception to the used car inventory policy when the Dealership’s inventory exceeded

   the 60 day limit knowing that the used vehicles were part of the fraudulent engine-

   blowing scheme by which the Dealership, and its employees, were profiting.

         72.    EDDIE NAPLETON also benefitted from the fraudulent engine-

   blowing scheme as a beneficiary of the Trusts holding the majority membership

   interest in the Dealership.

         73.    As detailed further below, EDDIE NAPLETON, KHAYTIN,

   REVUELTA, PELAYO and RUIZ continued to work together to defraud HMA.

         74.    Unbeknownst to HMA, Defendants continued the fraudulent scheme

   throughout 2017, 2018 and by January of 2019 were destroying as many as 22

   engines in a month.

                      Other Dealerships Learn About the Fraud

         75.    Napleton provided consulting services for another Hyundai dealership

   in South Florida referred to by HMA as FL 123. Edward F. Napleton, or his Trusts,

   own the majority ownership interest in FL 123.

         76.    The operations of FL 123 were also overseen by EDDIE NAPLETON

   on behalf of Napleton.

         77.    In mid-2017, during Napleton’s investigation into the Dealership’s

   parts inventory, the General Manager of FL 123, Mark Eddleman, became aware of

   the Dealership’s fraudulent scheme to deliberately damage and/or alter engines in


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   Hyundai vehicles for the purpose of fraudulently collecting warranty funds from

   HMA through the Service Manager, MINIER. The information provided by

   MINIER was confirmed by Napleton executives EDDIE NAPLETON and Jill

   Brotherton.

         78.     REVUELTA explicitly described the scheme to MINIER, who in turn

   described the scheme to Eddleman.

         79.     In January 2019, REVUELTA openly discussed the fraudulent scheme

   with MINIER. REVUELTA told MINIER that Defendants’ scheme would not be

   detected by HMA because HMA had a “fail rate” for Theta II engines and

   Defendants were careful to stay under HMA’s fail rate.

         80.     On or about January 31, 2019, MINIER exchanged text messages with

   Eddleman regarding Defendants’ fraudulent scheme. The exchange is revealing and

   confirms both the fictitious repair scheme concealed from HMA in 2017 and the

   active damaging of vehicle by Defendants. MINIER states, “They are buying

   auction cars. Yes, and burning up a lot. I had lunch with Ernie [Revuelta] yesterday

   he blew up 22 this month.” Eddleman responded, “Geez! That’s freaking 200K. I

   thought at one time he was not actually installing some & and building parts

   inventory anyways just continue to play it safe. That could bite them 1 day.”

   MINIER responded, “Correct that’s what they got busted for and got in trouble. For




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   claiming them and not doing them.” Copies of the text messages are attached as

   Exhibit I.

             81.   HMA paid for numerous warranty claims submitted by the Dealership

   under the Recall Campaign unaware the repairs were for deliberate damage done

   by Defendants.

             82.   EDDIE NAPLETON encouraged Eddleman to engage in a similar

   scheme at FL 123 to increase the dealer’s profitability.

             83.   Like KHAYTIN, Eddleman received a salary, plus commission based

   on the net profit of FL 123.

             84.   Like REVUELTA, MINIER received a salary, plus commission, based

   on the service and parts sales at FL 123.

             85.   Ultimately, MINIER, as the Service Manager of FL 123, engaged in

   warranty fraud by having Service Technicians at FL 123 intentionally running

   engines in Hyundai vehicles until they failed and by submitting false documentation

   to HMA.

             86.   When Napleton became aware of MINIER’s fraud, he was not

   formally reprimanded, or terminated. Napleton merely instructed him to cease and

   desist.

             87.   Napleton concealed MINIER’s fraud from HMA.




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           88.     MINIER concealed his knowledge of the Dealership's fraud from

   HMA.

           89.     MINIER's concealment of the Dealership's fraud from HMA allowed

   him to continue profiting from the fraud he was committing at FL 123.

       HMA Learns of Fraud from Eddleman’s Wrongful Termination Complaint

           90.     On or about April 23, 2020, Eddleman filed a complaint against

   EDDIE NAPLETON, FL 123, and others for whistleblower retaliation, tortious

   interference, and negligent retention arising out of their termination of Eddleman.

   See Complaint, 15TH Judicial Circuit Court Case No. 502020CA004581XXXXMB,

   attached as Exhibit J.

           91.     According to Eddleman’s Complaint, in February 2019, EDDIE

   NAPLETON was charged with an August 2018 sexual battery on a helpless person.1

   (Id. at ¶ 4).

           92.     Eddleman further alleges that in August 2018, EDDIE NAPLETON

   confessed to him that he raped the victim, a Napleton trainer, described the event in

   “disturbing detail,” and confessed that the victim was unconscious the entire time.

   (Id. at ¶ 5.)



   1
    See criminal complaint, State of Florida v. Edward Napleton, Jr.,15th Judicial Circuit, Case No.
   50-2019-CF-000941-AXXX-MB. The victim also filed a civil lawsuit against EDDIE
   NAPLETON and others. See Jane Doe v. Edward Napleton, Jr., 15th Judicial Circuit, Case No.
   50-2019-CA-008289-XXXX-MB.

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           93.      Eddleman further alleges that EDDIE NAPLETON pressured

   Eddleman to lie to criminal investigators about EDDIE NAPLETON’s interactions

   with the victim and to “forget” about EDDIE NAPLETON’s confession. (Id. at ¶¶

   6-8).

           94.      After EDDIE NAPLETON was charged, EDDIE NAPLETON

   threatened Eddleman with termination if he did not falsely testify. After Eddleman

   refused, he alleges he was “summarily terminated.” (Id. at ¶¶ 8-9).

           95.      As a result of Eddleman’s Complaint, for the first time, HMA became

   aware of the fraudulent engine warranty scheme perpetrated by Defendants and co-

   conspirators on HMA.

           96.      Eddleman’s Complaint alleges the Defendants “encouraged him to

   engage in certain frauds that they carried out to bolster the Napleton’s #121’s

   overall profitability, including warranty fraud and consumer fraud.” (Id. at ¶ 3).

   More specifically, Eddleman’s Complaint alleges:

           1. Warranty Fraud against Hyundai

                 40.      For instance, Defendants and NAG [Napleton
                 Automotive Group] Executive-1 [KHAYTIN] engaged in a
                 large-scale warranty fraud against Hyundai. In 2017 and
                 2018, according to its website, Hyundai recalled more than
                 one million Santa Fe and Sonata vehicles in order to address
                 a manufacturing issue that could lead to engine failure.
                 Defendants and NAG Executive-1 [KHAYTIN] engaged in a
                 scheme to defraud Hyundai based on the manufacturing
                 issued Hyundai had announced.


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               41. First, Defendants and NAG Executive-1 [KHAYTIN]
               would have NAG purchase at auction used versions of the
               Hyundai models that were subject to the recall. Then, once
               NAG brought the purchased vehicles onto its premises, NAG
               would intentionally “blow” the engines of those vehicles by
               emptying their oil and running them at high RPMs until the
               engines malfunctioned.

               42. At that point, NAG would submit fraudulent requests for
               Hyundai to pay for the supposed manufacturing defects
               pursuant to the recall. NAG would receive approximately
               $7,000 per “blown” engine, including the new engine and
               service fee.

               43. But this scheme was not limited to vehicles that NAG
               had purchased at auction; NAG would carry out the scheme
               to applicable Hyundai models that had been traded in by
               customers or brought in for service, as well. All told, NAG
               was “blowing” over 20 Hyundai engines every month,
               making this a multimillion-dollar fraud against Hyundai.

               44. Eddie Napleton, Jr. encouraged Plaintiff [Eddleman] to
               engage in this practice in order to bolster the productivity of
               the Hyundai dealership Plaintiff ran. Plaintiff declined.

               (Id. at ¶¶ 40-44).

                                 Count I: Fraud
                     (KHAYTIN, REVUELTA, EDDIE NAPLETON,
                          PELAYO, RUIZ AND MINER)

         97.      HMA repeats and realleges paragraphs 1-96, as if fully set forth herein.

         98.      Defendants        KHAYTIN,    REVUELTA,        EDDIE      NAPLETON,

   PELAYO, RUIZ and MINER perpetrated a scheme to defraud HMA.

         99.      As detailed, in part, above, KHAYTIN purchased the Hyundai

   vehicles described above through the Dealership.

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         100. REVUELTA, through the Service Advisors and Technicians,

   including RUIZ and PELAYO, then deliberately damaged the engines purchased

   by KHAYTIN rendering them inoperable.

         101. Based on a review of the preauthorization requests and the repair

   orders submitted to HMA, PELAYO assigned specific vehicles to RUIZ.

         102. RUIZ, with the knowledge and consent of PELAYO, REVUELTA,

   KHAYTIN and EDDIE NAPLETON, deliberately damaged the engines of vehicles

   taken in trade, or at the end of leases, as well as customer-owned vehicles brought

   in for repair, to make it falsely appear that an engine failure had occurred.

         103. The Dealership, through Napleton, at the direction of KHAYTIN and

   REVUELTA, with EDDIE NAPLETON’s encouragement and approval, then

   presented the vehicles to HMA, falsely representing they were covered under the

   Recall Warranty and omitting the fact that Defendants themselves had damaged the

   vehicles.

         104. MINIER, with EDDIE NAPLETON’s encouragement and approval,

   also presented warranty claims to HMA, through Napleton, falsely representing

   they were covered under the Recall Warranty and omitting the fact that the Service

   Technicians, at MINIER’s direction, damaged the vehicles.

         105. Upon information and belief, MINIER has also actively engaged in a

   cover-up of his knowledge of the fraud conducted at the Dealership so as to hinder


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   HMA's ability to learn the full extent of this warranty fraud, which thereby enabled

   MINIER to continue profiting from the fraud he was conducting at FL 123.

         106. Defendants made misrepresentations and/or omissions of fact

   regarding deliberate damage to the engines of these Hyundai vehicles.

         107. Defendants also made misrepresentations and/or omissions of facts

   regarding the actual purchase price and/or actual purchaser of the vehicles.

         108. Defendants knew that these statements and/or omissions were false at

   the time the statements were made, and that HMA was ignorant of any undisclosed

   facts and the fraudulent scheme that was being implemented.

         109. Defendants intended that HMA rely on their misrepresentations and

   omission of material facts to reimburse them for warranty repairs to the Hyundai

   vehicles under the Recall Campaign, and provide warranty reimbursements under

   the Recall Campaign, including replacing the engine assemblies.

         110. HMA       justifiably   and   reasonably    relied   upon    Defendants’

   misrepresentations and/or omissions of fact and acted on them by providing

   warranty reimbursements for the replacement of engine assemblies.

         111. HMA paid a significant amount of money in reasonable reliance on

   Defendants’ misrepresentations and/or omissions of facts.

         112. HMA has suffered significant monetary damages as a result of

   Defendants misrepresentations and/or omissions of facts.


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         113. In addition to monetary relief, HMA is entitled to equitable relief in

   the form of restitution or disgorgement.

         114. Due to the difficulty in identifying each specific fraudulent claim,

   HMA has not reached a conclusion as to the total number, or the specific

   identification of, each fraudulent claim.

         115. Defendants, by way of their expert, have acknowledged this difficulty

   in identifying each instance of fraud.

      WHEREFORE, Plaintiff Hyundai Motor America demands judgment in its

   favor and against Defendants KHAYTIN, REVUELTA, EDDIE NAPLETON,

   PELAYO, RUIZ and MINER for equitable relief, including restitution or

   disgorgement, monetary damages, punitive damages, pre and post judgment

   interest, costs, and such other relief as this Court may deem appropriate.




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                   Count II – Violation of Racketeer Influenced and
                    Corrupt Organizations Act, 18 U.S.C. § 1962(c)
                                   (All Defendants)

         116. HMA repeats and realleges paragraphs 1-96 as if fully set forth herein.

         117. The Racketeer Influenced and Corrupt Organizations Act (“RICO”),

   18 U.S.C. § 1961 et seq., imposes liability upon “any person employed by or

   associated with any enterprise engaged in, or the activities of which affect, interstate

   or foreign commerce, [who] conduct[s] or participate[s] directly or indirectly, in the

   conduct of such enterprise’s affairs through a pattern of racketeering activity….”

   18 U.S.C. § 1962(c).

         118. RICO was designed to prevent the illicit infiltration of legitimate

   business enterprises.

         119. Defendants perpetrated a fraudulent scheme in which HMA was the

   intended target, whereby they purposefully damaged engines of Hyundai vehicles

   purchased, traded or repaired through the Dealership, and had Napleton

   electronically submit the fraudulent warranty claims to HMA for reimbursement

   under the Recall Campaign. Defendants—knowing that the Recall Campaign did

   not cover vehicles that were intentionally damaged—intentionally, knowingly and

   willfully presented HMA with fraudulent claims for coverage.




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         120. Defendants also deliberately damaged the engines of vehicle taken in

   trade, or at the end of leases, as well as customer-owned vehicles brought in for

   repair, to make it falsely appear that an engine failure had occurred.

         121. Defendants’ fraudulent presentation of Hyundai vehicles as covered

   under the Recall Warranty caused HMA injury because HMA paid to repair or

   reimburse the Dealership for repairs to Hyundai vehicles that the Recall Campaign

   did not cover.

         122. Beginning in, or prior to, 2016, and continuing through the present

   date, Defendants formed an enterprise, as that term is defined in 18 U.S.C.

   §1961(4), to conduct and participate in the conduct of the enterprise’s affairs

   through a pattern of racketeering activity, as that term is defined in 18 U.S.C.

   §1961(1), that affects interstate commerce.

         123. At all relevant times, Defendants were, and remain, employed by

   and/or associated with the enterprise.

         124. Napleton participated in and advanced this scheme by both submitting

   fraudulent warranty claims to HMA through the online portal, by failing to notify

   HMA when it learned that fraudulent claims were being submitted, and, upon

   information and belief, participating in an effort both before and during this

   litigation to conceal the fraud and to hinder HMA’s access to information that would

   enable it to learn the full extent of the scheme.


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         125. The pattern of racketeering activity in which the enterprise conducts

   and participates is the purchase, sale and transport of vehicles, for purposes of

   submitting (and so submitting), through the internet, by wire, or through other

   electronic means, fraudulent warranty claims to HMA and receiving payment from

   HMA for these fraudulent warranty claims, and concealing these fraudulent

   warranty claims, as described above.

         126. Defendants, by and through their fraudulent activities and wrongful

   conduct, willfully and with actual knowledge, agreed to and did conduct and

   participate in the conduct of the enterprise’s affairs through a pattern of racketeering

   activity for the purposes of intentionally defrauding HMA since at least 2016.

   Defendants, willfully and with actual knowledge, conducted and participated in the

   affairs of the enterprise by purchasing and deliberately damaging Hyundai vehicles

   before transporting them to independent Hyundai dealers for evaluation intending

   for HMA to perform unjustified warranty work, including replacement of engine

   assemblies, which included the use of private or commercial mail carriers, wires

   and/or other electronic means, to deliver and transmit to conduct the scheme.

         127. Pursuant to and in furtherance of the fraudulent scheme, Defendants

   willfully and with actual knowledge committed multiple acts of wire fraud in

   violation of 18 U.S.C. § 1343, over a one-year time period spanning from at least

   as early as 2016 to 2020. These acts include purchasing and deliberately damaging


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   Hyundai vehicles and making false misrepresentations and/or omission of facts,

   which were reasonably relied upon by HMA, using wires or other electronic means.

         128. These acts constitute a pattern of racketeering activity pursuant to 18

   U.S.C. § 1962(c) because they were related to the same scheme to enrich the

   Defendants and the enterprise at the expense of HMA through the fraudulent

   misrepresentations and/or omission of facts of vehicles for coverage under HMA’s

   warranty program that did not meet the warranty requirements.

         129. It is likely that Defendants’ criminal conduct will continue, with

   respect to this scheme and potentially others. Defendants have maintained its

   fraudulent position that HMA owes the Dealership coverage under the Recall

   Campaign for other Hyundai vehicles that HMA has not provided because of its

   investigation into this matter. Additionally, upon information and belief Defendants

   have engaged in similar schemes in connection with other unrelated recalls in the

   automotive industry in the past. If Defendants are not stopped, it is likely that their

   improper and fraudulent abuse of product recalls for their own unlawful gain will

   continue.

         130. Defendants have directly and indirectly conducted and participated in

   the conduct of the enterprise’s affairs through the pattern of racketeering activity

   pursuant to 18 U.S.C. § 1962(c).




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         131. As a direct and proximate result of the racketeering activities of

   Defendants and violations of 18 U.S.C. § 1962(c), HMA has been injured in its

   business and property as a result of paying the Dealership and paying for

   evaluation of Hyundai vehicles for warranty work deliberately damaged by

   Defendants.

         132. HMA is entitled to equitable relief, in the form of restitution and/or

   disgorgement, in addition to compensatory damages.

         133. HMA has been required to retain the undersigned counsel, and has

   incurred attorneys’ fees and costs, to prosecute this action.

         WHEREFORE, Plaintiff Hyundai Motor America demands judgment in its

   favor and against all Defendants for monetary damages, including treble damages,

   punitive damages, pre and post judgment interest, costs, and attorneys’ fees;

   equitable relief, including an order preventing and restraining Defendants from

   further violations of 18 U.S.C. § 1962(c) and restitution and/or disgorgement; and,

   such other relief deemed just and appropriate.

                     Count III – Violation of Racketeer Influenced
                  and Corrupt Organizations Act, 18 U.S.C. § 1962 (d)
                                   (All Defendants)

         134. HMA repeats and realleges paragraph 1 – 96 and 117 - 130, as if fully

   set forth herein.




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         135. By engaging in the conduct set forth herein, Defendants agreed and

   conspired to violate 18 U.S.C. § 1962(c). Defendants willfully and with actual

   knowledge, agreed to and conspired to defraud HMA by purchasing and

   deliberately damaging Hyundai vehicles before transporting them to the Dealership

   for evaluation intending for HMA to perform unjustified warranty work, including

   replacement of engine assemblies, or repurchasing the vehicles, through the use of

   private or commercial mail carriers, and/or wires or electronic means.

         136. Defendants have intentionally conspired and agreed to conduct and

   participate in the conduct of the affairs of the enterprise through a pattern of

   racketeering activity. Defendants knew that their predicate acts were part of a

   pattern of racketeering activity and agreed to the commission of those acts to further

   their fraudulent scheme. That conduct constitutes a conspiracy to violate 18 U.S.C.

   § 1962(c) in violation of 18 U.S.C. § 1962(d).

         137. As a direct and proximate result of the racketeering activities of

   Defendants, the overt acts committed in furtherance of the conspiracy, and

   violations of 18 U.S.C. § 1962(d), HMA has been injured in its business and

   property as a result of paying the Dealership and paying for evaluation of Hyundai

   vehicles for warranty work on engines deliberately damaged by Defendants.

         138. HMA is entitled to equitable relief, in the form of restitution and/or

   disgorgement, in addition to compensatory damages.


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         139. HMA has been required to retain the undersigned counsel, and has

   incurred attorneys’ fees and costs, to prosecute this action.

         WHEREFORE, Plaintiff Hyundai Motor America demands judgment in its

   favor and against all Defendants for monetary damages, including treble damages,

   punitive damages, pre and post judgment interest, costs, and attorneys’ fees;

   equitable relief, including an order preventing and restraining Defendants from

   further violations of 18 U.S.C. § 1962(d) and restitution and/or disgorgement; and,

   such other relief deemed just and appropriate.

     Count V: Tortious Interference with a Contract and Business Relationship
                (KHAYTIN, REVUELTA, EDDIE NAPLETON,
                          PELAYO, RUIZ AND MINER)

         140. HMA repeats and realleges paragraph 1 - 96, as if fully set forth herein.

         141. HMA has a business relationship and Dealer Sales and Service

   Agreement with the Dealership under which HMA has legal rights.

         142. Defendants       KHAYTIN,        REVUELTA,           EDDIE   NAPLETON,

   PELAYO, RUIZ and MINER are aware of HMA’s business relationship and Dealer

   Sales and Service Agreement with the Dealership.

         143. Defendants intentionally and unjustifiably interfered with HMA’s

   business relationship and Agreement with the Dealership.

         144. More specifically, the Agreement is subject to immediate termination

   when the dealer submits to HMA “(i) false claims for reimbursement, sales


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   incentives, refunds rebates or credits, (ii) false financial information, sales reports or

   other data required by HMA; or (iii) false statements relating to predelivery

   preparation, testing, warranties, servicing, repairing, or maintenance required by

   HMA.”

         145. Additionally, HMA’s Dealer Sales and Service Agreement with the

   Dealership requires the Dealership to comply with the Hyundai Warranty Policy and

   Procedures Manual. Defendants intentionally and unjustifiably caused the

   Dealership to violate the Manual.

         146. HMA has been damaged as a result of Defendants’ interference.

         147. HMA is entitled to equitable relief, in the form of restitution and/or

   disgorgement, in addition to compensatory damages.

         WHEREFORE, Plaintiff Hyundai Motor America demands judgment in its

   favor and against Defendants KHAYTIN, REVUELTA, EDDIE NAPLETON,

   PELAYO, RUIZ and MINER for monetary damages, punitive damages, pre and post

   judgment interest, costs, and attorneys’ fees; equitable relief, including restitution

   and/or disgorgement; and, such other relief deemed just and appropriate.




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                          Count VI: Civil Conspiracy
                   (KHAYTIN, REVUELTA, EDDIE NAPLETON,
                         PELAYO, RUIZ and MINER)

         148. HMA repeats and realleges paragraph 1 - 96, as if fully set forth herein.

         149. Defendants         KHAYTIN,     REVUELTA,        EDDIE      NAPLETON,

   PELAYO, RUIZ and MINER agreed to enter into a conspiracy to commit an

   unlawful act by defrauding HMA by intentionally destroying engines of Hyundai

   vehicles and submitting fraudulent warranty claims to HMA.

         150. Defendants committed overt acts in pursuance of the conspiracy by

   purchasing Hyundai vehicles for the purpose of intentionally damaging their

   engines, submitting fraudulent warranty claims for said vehicles.

         151. HMA has been damaged as a result of the Defendants’ acts performed

   pursuant to the conspiracy.

         152. HMA is entitled to equitable relief, in the form restitution and/or

   disgorgement, in addition to compensatory damages.

         WHEREFORE, Plaintiff Hyundai Motor America demands judgment in its

   favor and against Defendants KHAYTIN, REVUELTA, EDDIE NAPLETON,

   PELAYO, RUIZ and MINER for monetary damages, punitive damages, pre and post

   judgment interest, costs, and attorneys’ fees; equitable relief, including restitution

   and/or disgorgement; and, such other relief deemed just and appropriate.




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                                DEMAND FOR JURY TRIAL

          Hyundai Motor America Corporation hereby demands trial by jury on all

   issues so triable.

          Respectfully submitted this 14th day of June, 2021.


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